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                                                                                 FILED
                                                                                     OCT 2 8 2024
                                                                             gjRK,U.a. DISTRICT COURT
                                                                            wwtcrn  DISTR^OKJFEXAS
                             UNTIED STATES DISTRICT COURT
                                                                                        DEPUTY oJerK
                               WESTERN DISTRICT OF TEXAS
                                                      DIVISION




DREWA, JONATHAN C™                                          CASE N          R
               Plaintiff
                                               :SA24
SAN ANTONIO ZOOLOGICAL                                      COMPLAINT
SOCIETY,INC.
              Defendant




                                            Plaintiff


       COMES NOW,the Jonathan Christopher: Drewa competent, Sui Juris, as the authorized

representative, and the Sole Beneficiary of the matter at hand, a decorated combat veteran, a

sentient being. One of We the People invoking all the un-a-lien-able rights, appearing by special

divine appearance, and do hereby respectfully declare intent to pursue relief

                                                IT


                                           Defendant


       The Defendant herein named the SAN ANTONIO ZOOLOGICAL SOCIETY INC is

currently at the address: 3903 North Saint Mary's Street, San Antonio, Texas 78212




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